Case 8:10-cr-00550-VMC-TGW Document 257 Filed 09/20/11 Page 1 of 1 PageID 862


                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


 UNITED STATES OF AMERICA,


 vs.                                                   CASE NO. 8:10-CR-550-T-17-MAP


 RICHARD J. BOBKA
                                        /

                                              ORDER

        This cause comes before the Court on the defendant’s, pro se, motion for speedy trial, to
 sever defendant or in the alternative, for release from custody (Doc. 241). On August 18, 2011,
 the Court held oral argument on the three part motion and denied all three portions of the motion
 and announced that the oral ruling would be memorialized in a written order. Accordingly, it is.


        ORDERED that the defendant’s, pro se, motion for speedy trial, to sever defendant or
 in the alternative, for release from custody (Doc. 241) be denied as orally announced at the
 hearing on August 18, 2011.


        DONE AND ORDERED in Chambers in Tampa, Florida this 20th day of August, 2011.




 Copies furnished to: All Counsel of Record
